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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No.     11-cr-00184-WYD

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. LEON HENDERSON ASKEW,

       Defendant.


       ORDER GRANTING AUNOPPOSED MOTION TO REDUCE SENTENCE
                    PURSUANT TO 18 U.S.C. ' 3582"


       This matter is before the Court on the Defendant=s AUnopposed Motion to Reduce

Sentence Pursuant to 18 U.S.C. ' 3582.@ Having considered the motion and the

agreement of the parties represented therein, the Court finds: 1) the sentence previously

imposed has subsequently been lowered and made retroactive by the United States

Sentencing Commission pursuant to 28 U.S.C. ' 994(u); 2) the defendant is eligible for

relief under 18 U.S.C. ' 3582(c)(2) and U.S.S.G. '1B1.10; 3) the amended guideline

range as reflected in the unopposed motion is correctly calculated.

       The Court=s determination of the Guideline Range prior to any departures is as

follows:
               Previous Offense Level:         22
               Criminal History Category:      IV
               Previous Guideline Range:       63-78 months on Counts One,
                                               Two, Three
                                               60 months, consecutive on Count Four
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                  Amended Offense Level:             20
                  Criminal History Category:         IV
                  Amended Guideline Range:           51-63 months on Counts One, Two,
                                                     Three
                                                     60 months, consecutive on Count Four

          It is further

          ORDERED that Defendant's "Unopposed Motion to Reduce Sentence Pursuant to

18 U.S.C. ' 3582," (ECF No. 115), filed May 26, 2015, is GRANTED. Taking into

account the factors set forth in 18 U.S.C. ' 3553(a) and any guideline or statutory

reductions, to the extent applicable, the previously imposed sentence of 130 months

imprisonment is reduced to 116 months: 56 months imprisonment on Counts One

Two and Three to be served concurrently and 60 months imprisonment on Count

Four to be served consecutively to all other counts, EFFECTIVE November 1, 2015.

          All other provisions of the Judgment entered on June 12, 2012, shall remain in

effect.

          Dated: June 11, 2015.

                                           BY THE COURT:



                                           s/ Wiley Y. Daniel
                                           WILEY Y. DANIEL,
                                           SENIOR UNITED STATES DISTRICT JUDGE




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